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8                             UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
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11   MARILEE HALL, Individually and on                     Case No.: 15cv2047-JM (DHB)
     behalf of all others similarly situated,
12
                                          Plaintiff,       SCHEDULING ORDER
13
     v.
14
15   REAL TIME RESOLUTIONS, INC.,
                           Defendant.
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18         Pursuant to Rule 16 of the Federal Rules of Civil Procedure, a Case Management
19   Conference was held on February 18, 2016. After consulting with the attorneys of record
20   for the parties and being advised of the status of the case, and good cause appearing, IT IS
21   HEREBY ORDERED:
22         1.     Any motion to join other parties, to amend the pleadings, or to file additional
23   pleadings shall be filed on or before April 15, 2016.
24         2.     All discovery that relates to class certification must be completed by all parties
25   on or before May 18, 2016. “Completed” means that all discovery under Rules 30-36 of
26   the Federal Rules of Civil Procedure, and discovery subpoenas under Rule 45, must be
27   initiated a sufficient period of time in advance of the cutoff date, so that it may be
28   completed by the cutoff date, taking into account the times for service, notice, and response
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1    as set forth in the Federal Rules of Civil Procedure. Counsel must promptly and in good
2    faith meet and confer with regard to all discovery disputes in compliance with Local Rule
3    26.1 a. A failure to comply in this regard will result in a waiver of a party’s discovery
4    issue. Absent an order of the Court, no stipulation continuing or altering this
5    requirement will be recognized by the Court. The Court’s procedures for resolving
6    discovery disputes are set forth in Magistrate Judge Bartick’s Civil Chambers Rules, which
7    are posted on the Court’s website.
8            3.    Plaintiff’s class certification motion shall be FILED on or before June 20,
9    2016.
10           Please be advised that counsel for the moving party must obtain a motion hearing
11   date from the law clerk of the judge who will hear the motion. Be further advised that the
12   period of time between the date you request a motion date and the hearing date may vary
13   from one judge to another. Please plan accordingly. For example, you may need to contact
14   the judge’s law clerk in advance of the motion cut-off to assess the availability of the
15   Court’s calendar. Failure of counsel to timely request a motion date may result in the
16   motion not being heard.
17           4.    Briefs or memoranda in support of or in opposition to any pending motion
18   shall not exceed twenty-five (25) pages in length without permission of the judge or
19   magistrate judge who will hear the motion. No reply memorandum shall exceed ten (10)
20   pages without leave of the judge who will hear the motion.
21           5.    The Court will defer issuing the remainder of the pretrial schedule until the
22   Court has ruled on the motion for class certification. Once the ruling has been issued, the
23   Court will hold another Case Management Conference, at which time the remainder of the
24   pretrial schedule will be issued. The parties shall contact Judge Bartick’s chambers within
25   three (3) days of the Court’s ruling on the motion for class certification in order to schedule
26   this Case Management Conference.
27           6.    The dates and times set forth herein will not be modified except for good cause
28   shown.
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1          7.     Plaintiff’s counsel shall serve a copy of this order on all parties that enter this
2    case hereafter.
3          IT IS SO ORDERED.
4    Dated: February 18, 2016
                                                    DAVID H. BARTICK
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                                                    United States Magistrate Judge
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